Case 19-34054-sgj11 Doc 933 Filed 08/07/20                 Entered 08/07/20 23:11:52            Page 1 of 27




FROST BROWN TODD LLC
Mark A. Platt, Esq.
Texas Bar No. 00791453
2101 Cedar Springs Road, Suite 900
Dallas, Texas 75201
Tel: 214-545-3474
Fax: 214-545-3473
Email: mplatt@fbtlaw.com

JENNER AND BLOCK, LLP
Terri L. Mascherin
353 North Clark Street
Chicago, IL 60654-3456
(312) 222-9350
Email: TMascherin@jenner.com

Marc B. Hankin
919 3rd Avenue
New York, NY 10022
(212) 891-1647
Email: MHankin@jenner.com

Counsel for the Redeemer Committee of the Highland Crusader Fund
and the Crusader Funds1

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

    In re:                                                  §
                                                            §   Chapter 11
    HIGHLAND CAPITAL MANAGEMENT,                            §
    L.P.,                                                   §   Case No. 19-34054-sgj11
                                                            §
                                   Debtor.                  §


   REDEEMER COMMITTEE OF THE HIGHLAND CRUSADER FUNDS AND THE
    CRUSADER FUNDS’ OBJECTION TO THE PROOF OF CLAIM OF UBS AG,
 LONDON BRANCH AND UBS SECURITIES, LLC AND JOINDER IN THE DEBTOR’S
                           OBJECTION



1
 For purposes of this Objection and Joinder, Frost Brown Todd LLC is counsel only to the Redeemer Committee and
Jenner & Block, LLP is counsel to the Redeemer Committee, and for the limited purpose of this Objection, the
Crusader Funds.

                                                      1
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                              Entered 08/07/20 23:11:52                        Page 2 of 27




                                               TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................................. 5

II.    JURISDICTION ................................................................................................................. 8

III.   BACKGROUND ................................................................................................................ 8

       A.        Fund Counterparties Fail to Meet Margin Calls in 2008. ....................................... 8

       B.        Highland Affiliates Engage in Fall 2008 Transfers ................................................ 9

       C.        The Fall 2008 Transfers are Unwound on March 20, 2009. ................................... 9

       D.        UBS Sues Over the Restructured Warehouse Transaction and Its Claim
                 Against Highland Is Dismissed. ............................................................................ 10

       E.        New York Appellate Division Dismisses Claims Against Highland as
                 Barred by Res Judicata.......................................................................................... 11

       F.        In 2013, Highland Moves for Summary Judgment ............................................... 12

       G.        The New York Court Holds the Phase I Trial, and Finds the Fund
                 Counterparties Liable. ........................................................................................... 14

       H.        In 2015, UBS Released Claims Against Highland Arising From the March
                 2009 Transfers to the Credit Strategies Fund and the Crusader Fund. ................. 15

IV.    ARGUMENT .................................................................................................................... 16

       A.        Standard ................................................................................................................ 17

       B.        Several New York Court Rulings Bar UBS from Seeking Damages From
                 the Debtor Arising From Conduct Occurring Before February 24, 2009. ............ 17

       C.        The Settlement Agreements Between UBS and the Crusader and Credit
                 Strategies Funds Released UBS’s Claims for Most of the Damages from
                 the March 2009 Transfers. .................................................................................... 21




                                                                  2
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                              Entered 08/07/20 23:11:52                   Page 3 of 27




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

In re Armstrong,
    347 B.R. 581 (Bankr. N.D. Tex. 2006) ....................................................................................13

In re Bellucci,
    119 B.R. 763 (Bankr. E.D. Cal. 1990) .....................................................................................15

Matter of Brady, Texas, Mun. Gas Corp.,
   936 F.2d 212 (5th Cir. 1991) ...................................................................................................14

In re City Equities Anaheim, Ltd.,
    22 F.3d 954 (9th Cir. 1994) .....................................................................................................17

In re De La Fuente,
    409 B.R. 842 (Bankr. S.D. Tex. 2009) ....................................................................................18

In re Highland Capital Mgmt., L.P.,
    19-34054-sgj11 (N.D. Tex.).....................................................................3, 9, 14, 15, 17, 20, 21

In re Mortg. Analysis Portfolio Strategies, Inc.,
    221 B.R. 386 (Bankr. W.D. Tex. 1998) ...................................................................................17

In re Ocasio,
    10 F. App’x 531 (9th Cir.2001) ...............................................................................................15

Shriners Hosp. for Children v. McCarthy Bros. Co.,
   80 F. Supp. 2d 707 (S.D. Tex. 2000) .......................................................................................21

UBS Sec. LLC v. Highland Capital Mgmt., L.P.,
  893 N.Y.S.2d 869 (N.Y. App. Div. 2010) .............................................................................5, 7

UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al,
  86 A.D.3d 469 (N.Y. App. Div. 2011) ..........................................................................8, 14, 16

UBS Sec. LLC v. Highland Capital Mgmt., L.P.,
  93 A.D.3d 489 (N.Y. App. Div. 2012) ....................................................................................14

UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al,
  L.P., 159 A.D.3d 512 (N.Y. App. Div. 2018) ................................................................9, 10, 14

UBS Sec. LLC v Highland Capital Mgmt., L.P.,
  No. 650752/2010 (N.Y. Sup. Ct.) ............................................................................8, 11, 14, 17



                                                                  3
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                                   Entered 08/07/20 23:11:52                       Page 4 of 27




UBS Sec. LLC v. Highland Crusader Holding Co.,
  No. 652646/2011 (N.Y. Sup. Ct.) ..........................................................................................6, 8

UBS Sec. LLC, et al v. Highland Capital Mgmt., L.P., et al,
  No. 650097/2009 (N.Y. Sup. Ct.) ..................................................................................5, 10, 11

Statutes

11 U.S.C. § 502(a) .........................................................................................................................13

11 U.S.C. § 502(b)-(d) .....................................................................................................................4

11 U.S.C. § 558 ................................................................................................................................4

28 U.S.C. §§ 157 and 1334 ..............................................................................................................4

28 U.S.C. §§ 157(b)(2)(A), (B) and (L) ...........................................................................................4

28 U.S.C. §§ 1408 and 1409 ............................................................................................................4

§§ 502(b)-(d) and 558 of Title 11 of the United States Code ..........................................................1

Other Authorities

Fed. R. Bankr. P.3001(f) ................................................................................................................13

Rule 3007 of the Federal Rules of Bankruptcy Procedure ..........................................................1, 4




                                                                       4
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                 Entered 08/07/20 23:11:52            Page 5 of 27




        Pursuant to sections 502(b)-(d) and 558 of Title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 3007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), (i) the Redeemer Committee of the Highland Crusader Funds (the

“Redeemer Committee”) and (ii) Highland Crusader Offshore Partners, L.P., Highland Crusader

Fund, L.P., Highland Crusader Fund, Ltd. and Highland Crusader Fund II, Ltd. (collectively, the

“Crusader Funds”)2 object to Proof of Claim Nos. 190 and 191, submitted by UBS AG, London

Branch and UBS Securities, LLC (together, “UBS” and such claims, the “UBS Claim”), and join

in the objection to the UBS Claim submitted by Highland Capital Management, L. P. (“Highland”

or the “Debtor”)3

I.      INTRODUCTION

        UBS asserts that the Debtor is liable for breaches of contract by certain of its indirect

subsidiaries, and for alleged fraudulent transfers involving other subsidiaries and funds that the

Debtor currently or previously managed. UBS, the Debtor, and several of the Debtor’s affiliates

have been engaged in litigation that, prior to the commencement of the Debtor’s chapter 11 case,

had been ongoing since 2009 in the New York State courts (collectively, the “New York Courts”).

The Redeemer Committee and the Crusader Funds have a unique perspective on the merits of the

UBS Claim because two of the Crusader Fund entities were defendants in that action. The

Redeemer Committee is a committee of investors, elected pursuant to the Scheme and Plan of

Liquidation of the Crusader Funds approved by the Bermuda Court, to oversee Highland’s

management of the Crusader Funds through what was intended to be the complete liquidation of




2
  Highland Crusader Holding Corporation (“Crusader Holding”), a signatory to the UBS settlement agreement
described in Section IV(C), is a wholly owned subsidiary of the Crusader master fund—Highland Crusader Offshore
Partners, L.P.
3
  See Debtor’s Obj. to Proofs of Claim 190 and 191 of UBS Sec. LLC And UBS AG, London Branch, In re Highland
Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Aug. 7, 2020) (Doc. No. 928).

                                                      5
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52        Page 6 of 27




the fund. The Redeemer Committee played a central role in the negotiation of the settlement of

UBS’ claims against the Crusader Funds, pursuant to which UBS released the Debtor from much

of the relief that UBS now seeks in its claim.

       UBS asserts that the UBS Claim arises from three principal events: (1) in the fall of 2008,

certain Highland affiliates failed to honor certain contractual margin calls in connection with a

proposed securitization financing; (2) in the fall of 2008, certain Highland affiliates engaged in a

series of asset transfers with Highland-managed funds; and (3) on March 20, 2009, Highland

affiliates unwound those transactions with the Highland-managed funds. UBS claims the Debtor

owes UBS at least $1,039,957,799—the amount of a judgment that UBS obtained in February

2020 arising from the non-Debtor affiliates’ breaches of contract by failing to honor the margin

calls in 2008.

       The majority of the UBS Claim is barred by res judicata. The New York Courts have held

that res judicata bars UBS from asserting claims against Highland that are based on conduct that

occurred before February 24, 2009, the date on which UBS filed its initial complaint in New York.

As discussed below, that ruling was the result of UBS filing a complaint that only asserted a claim

against Highland for indemnification, a claim that was later dismissed. Notwithstanding this

absolute bar, UBS asserts that the Debtor should be held liable for pre-February 24, 2009 conduct,

including that of certain of its affiliates, which ultimately resulted in the New York trial court

entering a $1,039,957,799 judgment against those entities.        It is telling that UBS recently

acknowledged that it has never even alleged in the New York action that Highland was the alter

ego of the judgment debtors. See UBS Reply ISO its Mot. to Lift Automatic Stay at 6, In re

Highland Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Jun. 11, 2020) (Doc. No. 733B); Hr’g

Trans. at 30-31, In re Highland Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Jun. 15, 2020)



                                                 6
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52       Page 7 of 27




(Doc. No. 746A). Any such alter ego claim would be a new path to establish liability that is barred

by res judicata. To the extent that the UBS Claim is based on the Debtor’s pre-February 24, 2009

conduct, res judicata requires disallowance of that claim.

       After giving effect to res judicata, the surviving part of the UBS Claim is based on certain

asset transfers made by an affiliate of the Debtor, Highland Financial Partners LP (“HFP”), in

March 2009. UBS asserts that those transfers were fraudulent conveyances, and that Highland

breached the implied duty of good faith and fair dealing by participating in those transfers. UBS

named several Highland-managed funds that received assets in March 2009 as defendants in the

New York action, including two Crusader Fund entities—Highland Crusader Offshore Partners,

L.P. (“Crusader Offshore Fund”) and Highland Crusader Holding Corporation (“Crusader

Holding”)—as well as Highland Credit Strategies Master Fund, L.P. (the “Credit Strategies

Fund”). These funds later entered into settlement agreements with UBS, and Highland was a

signatory to each agreement. The settlement agreements provide, in relevant part, that UBS

released Highland from any

    each fund as alleged by UBS. The UBS releases of Highland foreclosed the possibility that

Highland could later be found liable to UBS in connection with the transfers to those funds. This

protection was of central importance to the funds




       The chapter 11 process does not provide an alleged creditor the opportunity to relitigate

matters that are the subject of final, non-appealable decisions of a state court, or prevent

enforcement of valid and binding settlement agreements. As demonstrated below, UBS ignores

or misconstrues the New York Courts’ decisions and the settlement agreements to attempt to avoid



                                                 7
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52        Page 8 of 27




the necessary conclusion that the UBS Claim must be disallowed as a matter of law other than to

the extent it seeks damages arising from the March 2009 transfer of assets to entities other than

Crusader and Credit Strategies. Based on UBS’s expert valuations, in no instance would UBS’s

claim against the Debtor exceed               before prejudgment interest.

II.    JURISDICTION

       The Court has jurisdiction over this matter under the Bankruptcy Code and pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§§ 157(b)(2)(A), (B) and (L). Venue is proper in this District under 28 U.S.C. §§1408 and 1409.

The statutory predicates for the relief requested herein are 11 U.S.C. § 502(b)-(d) and Fed. R.

Bankr. P. 3007.

III.   BACKGROUND

       A.      Fund Counterparties Fail to Meet Margin Calls in 2008.

       In April 2007, UBS entered into agreements (collectively, the “CLO Warehouse

Agreements”) with Highland and two affiliates of Highland—Highland CDO Opportunity Master

Fund, L.P. (“CDO”) and Highland Special Opportunities Holding Company (“SOHC”) (together,

the “Fund Counterparties”)—to establish a warehouse facility to finance the acquisition of

syndicated leveraged loans and credit default swaps. (Ex. 1, 4/12/07 Original Synthetic Warehouse

Agreement; Ex. 2, 4/20/07 Original Engagement Ltr.; Ex. 3, 5/22/07 Original Cash Warehouse

Agreement.) Those assets, in turn, were to serve as the basis for a securitization pursuant to which

notes would be sold to investors.

       Due to market conditions, the securitized offering did not occur by the contractual deadline,

and the CLO Warehouse Agreements terminated. In March 2008, UBS, Highland, and the Fund

Counterparties entered into restructured warehouse agreements (collectively, the “Restructured

CLO Warehouse Agreements”). (See Ex. 4, UBS Securities LLC Proof of Claim ¶7, In re Highland

                                                 8
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                       Entered 08/07/20 23:11:52               Page 9 of 27




Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Jun. 26, 2020) (Claim No. 190).) The

Restructured CLO Warehouse Agreements gave UBS the right to make margin calls on the Fund

Counterparties in the event of a decline in the market value of the loans and swaps.4

         As the market deteriorated in the fall of 2008, UBS made three margin calls on the Fund

Counterparties. The Fund Counterparties satisfied the first two margin calls in September and

October 2008, using funds provided by SOHC’s parent corporation, HFP. (Ex. 5, Decision and

Order at 4, UBS Sec. LLC, et al v. Highland Capital Mgmt., L.P., et al, No. 650097-2009 (N.Y.

Sup. Ct. 2019). The Fund Counterparties failed to satisfy a third margin call in November 2008,

and UBS issued a notice of termination of the Restructured CLO Warehouse Agreements in

December. Id.5

         B.       Highland Affiliates Engage in Fall 2008 Transfers

         Meanwhile, during the fall of 2008, certain funds then managed by Highland—including

the Crusader Offshore Fund—transferred certain assets to HFP in

(the “Fall 2008 Transfers”).

      HFP was not a party to the Restructured CLO Warehouse Agreements.

         C.       The Fall 2008 Transfers are Unwound on March 20, 2009.

         The parties to the Fall 2008 Transfers unwound those transactions on March 20, 2009

(“March 2009 Transfers”).




4
  Furthermore, those agreements explicitly placed the risk of loss on the Fund Counterparties, and not Highland, as
the New York Appellate Division held. UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al., 893 N.Y.S.2d 869
(N.Y. App. Div. 2010) (“the agreements between the parties contain no promise on the part of Highland to undertake
liability with respect to the investment losses suffered by plaintiffs, or to ensure or guarantee the performance of [Fund
Counterparties]’ obligations to bear the risk of investment losses.”).
5
  UBS’s Proof of Claim employs sleight of hand by defining the term “Highland” to include the Fund Counterparties.
(See Ex. 4, UBS Securities LLC Proof of Claim ¶¶2, 11, In re Highland Capital Mgmt., L.P., 19-34054-sgj11 (N.D.
Tex. Jun. 26, 2020) (Claim No. 190).) Accordingly, while the UBS Claim states that “Highland posted the required
collateral” and refers to “Highland’s default on UBS’s third margin call,” it was the Fund Counterparties that posted
collateral and failed to meet the final margin call. See id. at ¶¶11-12.

                                                            9
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                 Entered 08/07/20 23:11:52          Page 10 of 27




 As a result,                                  HFP returned the assets to the transferors, including the

 Crusader Fund and the Credit Strategies Fund.

                              According to UBS’s expert in the New York action, HFP transferred

 assets with a market value of




         D.      UBS Sues Over the Restructured Warehouse Transaction and Its Claim
                 Against Highland Is Dismissed.

         UBS filed its first complaint on February 24, 2009, against the Fund Counterparties and

 Highland. (Ex. 10, Compl., UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No. 650097/09

 (N.Y. Sup. Ct. Feb. 24, 2009).) UBS’s original complaint contained only one claim against

 Highland—a contractual claim for indemnification. Id. ¶¶50-56. Highland moved to dismiss that

 claim, arguing that the indemnification provision did not apply to the particular losses claimed by

 UBS. UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, 893 N.Y.S.2d 869 (N.Y. App. Div.

 2010). The indemnification claim was dismissed by the New York appellate court. UBS Sec. LLC

 v. Highland Capital Mgmt., L.P., et al, 893 N.Y.S.2d 869 (N.Y. App. Div. 2010) (“the agreements



 6
  Highland Crusader Holding Corporation is a wholly-owned subsidiary of the Crusader Fund. (Ex. 8, Compl., UBS
 Sec. LLC v. Highland Crusader Holding Co., No. 652646/2011 ¶23 (N.Y. Sup. Ct. Sept. 26, 2011); Ex. 9, 6/17/15
 UBS and Crusader Fund Settlement Agreement, at 1.)

                                                      10
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                   Entered 08/07/20 23:11:52            Page 11 of 27




 between the parties contain no promise on the part of Highland to undertake liability with respect

 to the investment losses suffered by plaintiffs, or to ensure or guarantee the performance of [Fund

 Counterparties]’ obligations to bear the risk of investment losses.”).

         E.       New York Appellate Division Dismisses Claims Against Highland as Barred
                  by Res Judicata.

         On February 16, 2010, UBS sought amend its original complaint to assert new claims

 against Highland and others7 for claims arising from the Restructured Warehouse transaction, the

 Fall 2008 Transfers and the March 2009 Transfers, alleging that the March 2009 Transfers were

 fraudulent conveyances that benefitted Highland, and that, by causing the unwinding, Highland

 breached the implied covenant of good faith and fair dealing in the Restructured Warehouse

 Agreement. (Ex. 12, 2/16/10 UBS Ltr. to Court, UBS Sec. LLC v Highland Capital Mgmt., L.P.,

 No. 650097/2009 (N.Y. Sup. Ct.).) The New York Supreme Court denied the portion of UBS’s

 motion that sought leave to add new claims against Highland, agreeing with Highland’s position

 that a party cannot amend a pleading that has already been dismissed. (Ex. 11, Ruling at 5, UBS

 Sec. LLC v Highland Capital Mgmt., L.P., No. 650097/2009 (N.Y. Sup. Ct. Jun. 17, 2010).)

         Thereafter, UBS commenced a new action against Highland, in which it asserted the causes

 of action it had unsuccessfully sought to add to the original complaint. (Ex. 13, Compl., UBS Sec.

 LLC v Highland Capital Mgmt., L.P., No. 650752/2010 (N.Y. Sup. Ct. Jun. 28, 2010).).8




 7
   UBS sought to add Highland Financial Partners, LP, Highland Credit Strategies Fund, Highland Crusader Offshore
 Partners, LP, Highland Credit Opportunities CDO, LP, and Strand Advisors, Inc. (See Ex. 11, Ruling at 2, UBS Sec.
 LLC v Highland Capital Mgmt., L.P., No. 650097/09 (N.Y. Sup. Ct. Jun. 17, 2010).)
 8
   The trial court consolidated the second action against Highland with the original action that had pending claims
 against CDO, SOHC, HFP, Credit Strategies Fund, Crusader Offshore Fund, Highland Credit Opportunities CDO,
 L.P., and Strand Advisors, Inc. (Ex. 14, Consolidation Order, UBS Sec. LLC v Highland Capital Mgmt., L.P., No.
 650097/2009 (N.Y. Sup. Ct. Nov. 4, 2010.) UBS also later filed a separate lawsuit against Crusader’s wholly owned
 subsidiary, Crusader Holding. (Ex. 8, Compl., UBS Sec. LLC v Highland Crusader Holding Co., No. 652646/2011
 (N.Y. Sup. Ct. Sept. 26, 2011).)

                                                        11
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52        Page 12 of 27




        Highland moved to dismiss the new action, and the trial court granted the motion in part

 and denied it in part. UBS Sec. LLC v Highland Capital Mgmt. L.P., et al, No. 650097/09, 2010

 WL 6268233 (N.Y. Sup. Ct. Aug. 05, 2010). The parties appealed. UBS Sec. LLC v. Highland

 Capital Mgmt., L.P., et al, 86 A.D.3d 469 (N.Y. App. Div. 2011). The appellate court dismissed

 the fraudulent inducement claim against Highland, and held that to the extent UBS’s new claims

 for breach of the covenant of good faith and fair dealing and fraudulent conveyance arise from

 conduct alleged to have occurred before the commencement of the original action, i.e., February

 24, 2009, the claims must be dismissed. Id. The appellate court reasoned:

                Here, to the extent the claims against Highland in the new complaint
                implicate events alleged to have taken place before the filing of the
                original complaint, res judicata applies. That is because UBS’s
                claims against Highland in the original action and in this action all
                arise out of the restructured warehousing transaction.

  Id. Because this ruling precluded UBS from pursuing claims against Highland arising from

 conduct occurring before February 24, 2009, the appellate court barred UBS from asserting any

 claims based on (1) the Fund Counterparties’ failure to meet the margin calls in late 2008—the

 claim on which the trial court ultimately found the Fund Counterparties liable in the amount of

 $1,039,957,799, and (2) the Fall 2008 Transfers. As a result of this ruling, the only surviving claims

 against the Debtor arise from the March 2009 Transfers.

        F.      In 2013, Highland Moves for Summary Judgment

        In October 2013, Highland, HFP, and other defendants moved for summary judgment on

 UBS’s remaining claims. The trial court recognized that “the Appellate Division decisions

 preclude any fraudulent conveyance claims arising before February 24, 2009. They therefore

 preclude UBS from recovering for any alleged fraudulent transfers made before that date.” (Ex.

 15, Ruling at 25, UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No. 650097/2009 (N.Y.



                                                  12
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                    Entered 08/07/20 23:11:52              Page 13 of 27




 Sup. Ct. Mar. 24, 2017).) The court stated that UBS could still introduce evidence of pre-February

 24, 2009 conduct to support claims that only arose after February 24, 2009:

                  However, proof of pre-February 24, 2009 transfer, and of other
                  conduct involving the operation of the Highland entities, is not
                  prohibited to the extent necessary to prove UBS’s claims for post-
                  February 24, 2009 fraudulent conveyances, which are maintainable
                  under the Appellate Division decisions under an alter ego theory.9

 Id. The court also dismissed UBS’s claim against Highland for breach of good faith and fair

 dealing because the contract at issue, the Restructured CLO Warehouse Agreement, was

 terminated before February 24, 2009. Id. at 34-35.

         The parties appealed. Initially, the Appellate Division reinstated the claim for breach of

 good faith and fair dealing and dismissed the entirety of the fraudulent conveyance claim against

 Highland, including for the March 2009 Transfers, but the court later vacated that opinion. (Ex.

 17, Order at 3-4, UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, No. 650097/2009 (N.Y.

 App. Div. 2017)); UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, 159 A.D.3d 512, 514

 (N.Y. App. Div. 2018). In its subsequent decision, the Appellate Division held that the fraudulent

 conveyance and breach of good faith and fair dealing claims could survive, but only to the extent

 they arose from conduct occurring after February 24, 2009:

                  There is no dispute that plaintiffs are precluded from pursuing
                  fraudulent conveyance and breach of implied covenant claims that
                  arose prior to February 24, 2009. However, neither our prior
                  decisions nor the doctrine of res judicata bars plaintiffs from
                  introducing evidence of pre-February 24, 2009 conduct to the extent
                  necessary to prove, with respect to post-February 24, 2009 conduct,
                  their alter ego, fraudulent conveyance and breach of implied
                  covenant claims. The court correctly rejected defendants’ arguments
                  in support of dismissal of the remaining claims at issue.


 9
  The alter ego claim referenced in the court’s decision was a claim against HFP, not against Highland. (See Ex.16, 2d
 Am. Compl., UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No. 650097/09 at ¶194 (N.Y. Sup. Ct. May 11
 2011); Hr’g Trans. at 30-31, In re Highland Capital Mgmt L.P., et al, 19-34054-sgj11 (N.D. Tex. Jun. 15, 2020) (Doc.
 No. 746A.) UBS did not allege an alter ego claim against Highland.

                                                         13
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                     Entered 08/07/20 23:11:52              Page 14 of 27




 UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, 159 A.D.3d 512, 514 (N.Y. App. Div. 2018).

          G.       The New York Court Holds the Phase I Trial, and Finds the Fund
                   Counterparties Liable.

          Although the New York courts barred UBS from pursuing claims against Highland arising

 before February 24, 2009, UBS’s originally-pleaded breach of contract claims against the Fund

 Counterparties for failing to meet the margin calls in the fall of 2008 survived. (Ex. 10, Compl.

 ¶¶38-49, UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No. 650097/2009 (N.Y. Sup. Ct.

 Feb. 24, 2009).) The court bifurcated the case for trial, ruling that Phase I of the trial would be a

 bench trial on the breach of contract claims against the Fund Counterparties, and the remaining

 claims, including all of the claims involving post-February 24, 2009 conduct, would be tried in

 Phase II. (Ex. 18, 5/1/2018 Hearing Tr. at 35:15-22, UBS Securities LLC, et al v. Highland Capital

 Mgmt. L.P., et al, No. 650097-2009 (N.Y. Sup. Ct. May 1, 2018).)

          The New York Court held the Phase I bench trial in July 2018, and on November 14, 2019

 the court issued a decision finding the Fund Counterparties liable for breaching the Restructured

 CLO Warehouse Agreements and awarding damages of $519,374,149, which ultimately resulted

 in entry of a judgment for $1,039,957,799, with prejudgment interest. (Ex. 5, Decision and Order

 at 39 UBS Sec. LLC, et al v. Highland Capital Mgmt. L.P., et al, No. 650097/2009 (N.Y. Sup. Ct.

 Nov. 14, 2019.); Ex. 19, Judgment at 2, UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No.

 650097/2010 (N.Y. Sup. Ct. Feb. 10, 2020).) The court made no findings with respect to Highland

 or the remaining defendants,10 and those claims were scheduled to be heard during Phase II of the



 10
   According to UBS, the remaining defendants and claims other than Highland are: (1) Highland CDO Master Fund,
 L.P., with claims for fraudulent inducement and fraudulent conveyance; (2) Highland Special Opportunities Holding
 Company, with claims for fraudulent inducement and fraudulent conveyance; (3) Highland Financial Partners, L.P.,
 with claims for alter ego and fraudulent conveyance; (4) Strand Advisors, Inc., for general partner liability; and (5)
 Highland Credit Opportunities CDO, L.P., with a claim for fraudulent conveyance. (Ex. 20, Pl’s Mot. to Bifurcate at
 2-3, 15-16, UBS Sec. LLC, et al v. Highland Capital Mgmt. L.P., et al, No. 650097-2009 (N.Y. Sup. Ct. Apr. 18,
 2018).)

                                                          14
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52      Page 15 of 27




 proceedings. On October 16, 2019, the Debtor filed for chapter 11 protection, staying the

 proceedings against it.

        Only two counts remain against the Debtor: (1) fraudulent conveyance, actual and

 constructive, premised on the March 2009 Transfers, in which HFP transferred assets to Highland

 and to the Highland-managed fund co-defendants; and (2) breach of the implied covenant of good

 faith and fair dealing attendant to the contracts underlying the Restructured CLO Warehouse

 Agreements, based on the March 2009 Transfers.

        H.      In 2015, UBS Released Claims Against Highland Arising From the March
                2009 Transfers to the Credit Strategies Fund and the Crusader Fund.

        In 2015, Highland Crusader Offshore Partners, L.P., Highland Crusader Holding

 Corporation, and Highland Credit Strategies Master Fund, L.P. entered into settlements with UBS.

 Highland was a signatory to both the Crusader and Credit Strategies settlement agreements. Each

 agreement settled all of UBS’s claims against the applicable fund. The settlement agreements also

 released Highland from claims by UBS arising from the March 2009 Transfers to the Crusader

 and Credit Strategies funds. Highland is one of the




 11




                                                15
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52       Page 16 of 27




        The Redeemer Committee negotiated this settlement agreement with UBS on the Crusader

 Fund’s behalf. The Redeemer Committee negotiated for UBS’s release of Highland to foreclose

 the risk that, in the event Highland was held liable to UBS for a transfer to the Crusader Fund,




        According to UBS’s expert in the New York action, the assets that were the subject of the

 alleged fraudulent transfers to the two settling funds represented approximately        of the value

 of all of the assets that were transferred on March 20, 2009.

                                 According to that expert, the market value of remaining assets that

 were not the subject of these releases was

 IV.    ARGUMENT

        In order to establish its claim for over $1 billion against the Debtor, UBS must ignore the

 decisions issued by the New York Courts and the settlement agreements pursuant to which it

 released the Debtor from liability arising from most of the March 2009 Transfers. The chapter 11

 process, however, does not grant a creditor a “do over” so that it can relitigate claims that are the

 subject of final, non-appealable decisions issued by state courts, or valid and binding settlement

 agreements. For the reasons discussed below, the UBS Claim should be disallowed as a matter of

 law except to the extent UBS is seeking damages with respect to the remaining assets that it alleges



                                                  16
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52        Page 17 of 27




 were the subject of fraudulent transfers to entities other than Crusader or Credit Strategies in March

 2009, which according to its expert were valued at

        A.      Standard

        The Bankruptcy Code establishes a burden-shifting framework for proving the amount and

 validity of a claim. “A claim . . . , proof of which is filed under section 501 [of the Bankruptcy

 Code], is deemed allowed, unless a party in interest . . . objects.” 11 U.S.C. §502(a). “A proof of

 claim executed and filed in accordance with the [Bankruptcy Rules] shall constitute prima facie

 evidence of the validity and amount of the claim.” Fed. R. Bankr. P.3001(f); see also In re

 Armstrong, 347 B.R. 581, 583 (Bankr. N.D. Tex. 2006). However, the ultimate burden of proof

 for a claim always lies with the claimant. Armstrong, 347 B.R. at 583 (citing Raleigh v. Ill. Dep’t

 of Rev., 530 U.S. 15 (2000)).

        B.      Several New York Court Rulings Bar UBS from Seeking Damages From the
                Debtor Arising From Conduct Occurring Before February 24, 2009.

        This Court should disallow the UBS Claim to the extent it seeks to hold the Debtor liable

 for any conduct predating February 24, 2009 because the New York Courts have repeatedly held

 that res judicata bars any such claims. UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, 86

 A.D.3d 469, 474 (N.Y. App. Div. 2011); UBS v. Highland Capital Mgmt., L.P., et al, 93 A.D.3d

 489, 490 (N.Y. App. Div. 2012); UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No.

 650097/09 at 34 (N.Y. Sup. Ct. Mar., 24 2017); UBS Sec. LLC v. Highland Capital Mgmt., L.P.,

 et al, 159 A.D.3d 512, 514 (N.Y. App. Div. 2018). In its proof of claim, UBS seeks

 $1,039,957,799—the exact amount of the judgment against the Fund Counterparties for their

 failure to honor the margin calls in the fall of 2008—a claim entirely precluded by res judicata.

 (Ex. 4, UBS Securities LLC Proof of Claim ¶24, In re Highland Capital Mgmt., L.P., 19-34054-

 sgj11 (N.D. Tex. Jun. 26, 2020) (Claim No. 190); Ex. 19, Judgment at 2, UBS Sec. LLC v Highland


                                                  17
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52      Page 18 of 27




 Capital Mgmt., L.P., et al, No. 650752/10 (N.Y. Sup. Ct. Feb. 10, 2020).). UBS claims that it is

 entitled to recover the judgment against the Fund Counterparties from the Debtor because

 Highland was “party to the same contract and exercised complete control over the two liable

 affiliates—under which Claimant is entitled to damages that are at least as much as the Phase I

 judgment amount.” (Ex. 4, UBS Securities LLC Proof of Claim ¶24, In re Highland Capital Mgmt.,

 L.P., 19-34054-sgj11 (N.D. Tex. Jun. 26, 2020) (Claim No. 190).) This argument flies in the face

 of the multiple rulings of the New York Courts to the contrary.

        Those final, non-appealable New York Court rulings are binding here. See Matter of

 Brady, Texas, Mun. Gas Corp., 936 F.2d 212, 218 (5th Cir. 1991) (“unless the Code provides

 otherwise, state courts have concurrent jurisdiction, and bankruptcy courts are prohibited from

 relitigating these matters if the state courts have already resolved them.”); In re Ocasio, 10 F.

 App’x 531, 531-32 (9th Cir.2001); In re Bellucci, 119 B.R. 763, 769 (Bankr. E.D. Cal. 1990).

        The Debtor and the Redeemer Committee each pointed out in their objections to UBS’s

 motion to lift the automatic stay that res judicata bars UBS from pursuing these claims. See

 Debtor’s Obj. to UBS’s Mot. to Lift Automatic Stay ¶25-26, In re Highland Capital Mgmt., L.P.,

 19-34054-sgj11 (N.D. Tex. Jun. 3, 2020) (Doc. No. 687); Redeemer Comm. Obj. to UBS’s Mot.

 to Lift Automatic Stay at 13-14, In re Highland Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex.

 Jun. 8, 2020) (Doc. No. 714).) In its reply, UBS claimed that the New York courts had, in fact,

 held the opposite—that UBS was expressly permitted to assert claims arising from pre-February

 24, 2009 conduct. (UBS Reply ISO its Mot. to Lift Automatic Stay ¶6, In re Highland Capital

 Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Jun. 11, 2020) (Doc. No. 733B) (“This is virtually

 identical to the [res judicata] “defense” at hand, and both the State Court and the Appellate

 Division rejected the Debtor’s ultimate conclusion—that UBS’s ability to prove its claims against



                                                18
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52         Page 19 of 27




 the Debtor are, in fact, “limited” to reliance on post-February 2009 conduct only.”) UBS quotes

 selective portions of those decisions to support its conclusion:

                The State Court rejected this point when it ruled on the Debtor’s
                motion. See Docket No. 688-4 at 25 (Mar. 13, 2017 State Court
                Summ. J. Op.) (“This court previously rejected the contention,
                advanced by moving defendants here, that UBS cannot rely on
                events or conduct occurring before February 2009 to support its alter
                ego and fraudulent conveyance claims.”). And the Appellate
                Division squarely rejected it once more on appeal. Ex. 2 at 46 (Mar.
                15, 2018 Order) (“The court correctly rejected defendants’
                arguments” because “neither our prior decisions nor the doctrine of
                res judicata bars plaintiffs from introducing evidence of pre-
                February 24, 2009 conduct to the extent necessary to prove, with
                respect to post-February 24, 2009 conduct, their alter ego, fraudulent
                conveyance and breach of implied covenant claims.”).

 Id.

        UBS’s citations are misleading, at best. The full text of the lower court’s ruling makes

 clear that UBS is barred from pursuing claims against the Debtor arising before February 24, 2009:

                This court previously rejected the contention, advanced by moving
                defendants here, that UBS cannot rely on events or conduct
                occurring before February 2009 to support its alter ego and
                fraudulent conveyance claims. As held in the prior decision, the
                Appellate Division decisions preclude any fraudulent conveyance
                claims arising before February 24, 2009. They therefore preclude
                UBS from recovering for any alleged fraudulent conveyances
                made before that date. However, proof of pre-February 24, 2009
                transfers, and of other conduct involving the operations of the
                Highland entities, is not prohibited to the extent necessary to prove
                UBS’s claims for post-February 24, 2009 fraudulent conveyances,
                which are maintainable under the Appellate Division decisions on
                an alter ego theory.

 (Ex. 15, Ruling at 25, UBS Sec. LLC v Highland Capital Mgmt., L.P., et al, No. 650097/2009

 (N.Y. Sup. Ct. Mar. 24, 2017) (emphasis added).) Similarly, UBS again selectively omits the

 portion of the appellate ruling that precludes UBS from pursuing damages arising before February

 24, 2009:



                                                  19
Case 19-34054-sgj11 Doc 933 Filed 08/07/20            Entered 08/07/20 23:11:52       Page 20 of 27




                There is no dispute that plaintiffs are precluded from pursuing
                fraudulent conveyance and breach of implied covenant claims that
                arose prior to February 24, 2009. However, neither our prior
                decisions nor the doctrine of res judicata bars plaintiffs from
                introducing evidence of pre-February 24, 2009 conduct to the extent
                necessary to prove, with respect to post-February 24, 2009 conduct,
                their alter ego, fraudulent conveyance and breach of implied
                covenant claims. The court correctly rejected defendants’ arguments
                in support of dismissal of the remaining claims at issue.

 UBS Sec. LLC v. Highland Capital Mgmt., L.P., et al, 86 A.D.3d 469, 474 (N.Y. App. Div. 2011)

 (emphasis added).

        The New York Courts ruled that UBS may not pursue claims against Highland arising from

 conduct occurring before February 24, 2009. The language that UBS cites states only that, in

 pursuit of its post-February 24, 2009 claims regarding the March 2009 Transfers, UBS may

 introduce evidence of conduct predating its original complaint.

        The “Phase I” judgment that UBS seeks to recover from Highland was, unequivocally,

 based entirely on conduct predating February 24, 2009. (Ex. 5, Decision and Order at 4-5, UBS

 Sec. LLC, et al v. Highland Capital Mgmt., L.P., et al, No. 650097-2009 (N.Y. Sup. Ct. 2019).)

 UBS concedes that it seeks to hold Highland liable based on that 2008 conduct, because it was

 “party to the same contract and exercised complete control over the two liable affiliates” in 2008.

 (See Ex. 4, UBS Securities LLC Proof of Claim at ¶24, In re Highland Capital Mgmt., L.P., 19-

 34054-sgj11 (N.D. Tex. Jun. 26, 2020) (Claim No. 190).) This Court should disallow UBS’s claim

 to the extent it seeks to impose any liability on the Debtor arising from pre-February 24, 2009

 conduct, including liability for the Phase I judgment.

        The only remaining claims UBS has against the Debtor are for fraudulent conveyance and

 the breach of good faith and fair dealing with respect to the March 2009 Transfers. However, as

 demonstrated below, UBS entered into two settlement agreements in the New York action that



                                                 20
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52      Page 21 of 27




 substantially reduce UBS’s claim to damages                             before any prejudgment

 interest.

         C.     The Settlement Agreements Between UBS and the Crusader and Credit
                Strategies Funds Released UBS’s Claims for Most of the Damages from the
                March 2009 Transfers.

         This Court should disallow UBS’s claim to the extent it seeks damages arising from the

 March 2009 Transfers to the Crusader Fund and the Credit Strategies Fund, because UBS released

 those claims in 2015 settlement agreements. Bankruptcy courts have the authority to enforce

 settlement agreements in the claims adjudication process. In re City Equities Anaheim, Ltd., 22

 F.3d 954, 958 (9th Cir. 1994) (“A bankruptcy court, as a court of equity, likewise possesses the

 power to summarily enforce settlements.”); In re Mortg. Analysis Portfolio Strategies, Inc., 221

 B.R. 386, 388 (Bankr. W.D. Tex. 1998) (holding that “this Court has the inherent power to enforce

 settlement agreements between parties.”); In re De La Fuente, 409 B.R. 842, 845 (Bankr. S.D.

 Tex. 2009).

         As described above, on March 20, 2009, HFP transferred assets

                                             according to UBS’s expert in the New York action:




                                                21
Case 19-34054-sgj11 Doc 933 Filed 08/07/20            Entered 08/07/20 23:11:52    Page 22 of 27




        On June 11, 2015, UBS agreed to release Highland from




                                    That provision released all claims UBS had against Highland,

 whether in the form of a fraudulent conveyance claim or a breach of good faith and fair dealing

 claim, with respect to the March 2009 Transfers to the Credit Strategies Fund.

        A few days later, on June 17, 2015, UBS agreed to release Highland from




    These provisions release all claims UBS had against Highland—regardless whether the claim

 was for breach of the implied covenant of good faith and fair dealing or for fraudulent

 conveyance—with respect to the March 20, 2009 Transfers to those entities.

        As a result, UBS retained only claims against Highland for losses or other relief arising

                                      Credit Opportunities Fund, Credit Opportunities Holding

 Corporation and Highland itself:




                                                 22
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52       Page 23 of 27




 Based on the values provided by UBS’s expert, UBS released Highland from claims arising from

 the transfer of assets valued at approximately                             of the value of the entire

 transaction.                                                                        In exchange for

 releasing its claims for relief against Crusader, Credit Strategies and Highland arising from those

 transfers, UBS received

 and avoided (to date) five more years of litigation against those funds.




        The Crusader Fund paid for and deserves to receive the full benefit of its bargain for its

 settlement agreement with UBS.                                                             Crusader

 did. And the Redeemer Committee insisted that UBS release Highland because without that

 release,




                                                  23
Case 19-34054-sgj11 Doc 933 Filed 08/07/20              Entered 08/07/20 23:11:52    Page 24 of 27




        In its reply in support of its motion to lift the automatic stay,




                           UBS Reply ISO its Mot. to Lift Automatic Stay at 9, In re Highland

 Capital Mgmt., L.P., 19-34054-sgj11 (N.D. Tex. Jun. 11, 2020) (Doc. No. 733B) (emphasis in

 original).) This is, again, selective quotation. The full provision reads:




                                                           UBS further claims that



          UBS Reply ISO its Mot. to Lift Automatic Stay at 9, In re Highland Capital Mgmt., L.P.,

 19-34054-sgj11 (N.D. Tex. Jun. 11, 2020) (Doc. No. 733B).

        But the settlement releases are not ambiguous, and their clear language controls—UBS

 released Highland for

        Shriners Hosp. for Children v. McCarthy Bros. Co., 80 F. Supp. 2d 707, 710 (S.D. Tex.

 2000) (“Because the settlement provision at issue in this case contains no ambiguity, it therefore

 must be construed in accordance with its plain meaning.”)                           are both broad

 terms. “‘[L]osses’ is legally synonymous with ‘damages,’” and in its good faith and fair dealing

 claim, UBS is seeking damages arising from the transfers to the Crusader Fund. Nogueiro v. Kaiser

 Found. Hosps., 250 Cal. Rptr. 478, 481 (Ct. App. 1988); see DAMAGES, Black’s Law Dictionary

                                                   24
Case 19-34054-sgj11 Doc 933 Filed 08/07/20             Entered 08/07/20 23:11:52       Page 25 of 27




 (11th ed. 2019) (“Money claimed by, or ordered to be paid to, a person as compensation for loss

 or injury.”) Further, even if UBS’s claim for damages arising from the March 2009 Transfers was

 somehow not              UBS’s Claim for damages is a request for

                        Confederated Tribe of Colville Reservation v. White, 1996 WL 33407856,

 at *3 (E.D. Wash. Nov. 7, 1996) (“filing a proof of claim is an affirmative act seeking relief via a

 court’s adjudication of a dispute.”); In re Barrett Ref. Corp., 221 B.R. 795, 811 (Bankr. W.D.

 Okla. 1998) (“The filing of a proof of claim is not merely a defense, but is an affirmative claim for

 relief.”); Mertens v. Hewitt Assocs., 508 U.S. 248, 269 (1993).

        UBS released all claims for any type of relief against Highland arising from the March

 2009 Transfers to the two funds, including UBS’s claim for breach of good faith and fair dealing

 arising from that transfer. The Redeemer Committee and the Crusader Fund should be given the

 full benefit of their bargain from the settlement agreement, and UBS should not be permitted to

 recover relief from the Debtor that UBS already released. The Crusader Fund and the Redeemer

 Committee respectfully request that this Court disallow UBS’s claim to the extent it seeks to hold

 the Debtor liable under any legal theory for damages arising from the March 20, 2009 Transfers

 to the Crusader Fund or Credit Strategies Fund, including UBS’s claims for fraudulent conveyance

 and breach of good faith and fair dealing.

                                              CONCLUSION

        For all these reasons, this Court should disallow UBS’s claim against the Debtor to the

 extent that it (1) seeks to hold the Debtor liable for claims arising from conduct occurring before

 February 24, 2009; and (2) seeks to hold the Debtor liable for claims arising from the March 2009

 Transfers with respect to the asset transfers to the Credit Strategies Fund and Crusader Fund.



                                                  25
Case 19-34054-sgj11 Doc 933 Filed 08/07/20                Entered 08/07/20 23:11:52         Page 26 of 27




 Dated this 7th day of August, 2020               Respectfully submitted,

                                                  /s/ Mark A. Platt
                                                  FROST BROWN TODD LLC
                                                  Mark A. Platt, Esq.
                                                  Texas Bar No. 00791453
                                                  2101 Cedar Springs Road, Suite 900
                                                  Dallas, Texas 75201
                                                  Tel: 214-545-3474
                                                  Fax: 214-545-3473
                                                  Email: mplatt@fbtlaw.com

                                                  – and –

                                                  JENNER AND BLOCK, LLP
                                                  Terri L. Mascherin
                                                  353 North Clark Street
                                                  Chicago, IL 60654-3456
                                                  (312) 222-9350
                                                  Email: TMascherin@jenner.com

                                                  Marc B. Hankin
                                                  919 3rd Avenue,
                                                  New York, NY 10022
                                                  (212) 891-1647
                                                  Email: MHankin@jenner.com
                                                  Counsel for the Redeemer Committee of the
                                                  Highland Crusader Fund and the Crusader Funds12




 12
   Frost Brown Todd LLC is counsel only for the Redeemer Committee and Jenner & Block, LLP is counsel to the
 Redeemer Committee, and for the limited purpose of this Objection, the Crusader Funds.

                                                     26
Case 19-34054-sgj11 Doc 933 Filed 08/07/20           Entered 08/07/20 23:11:52       Page 27 of 27




                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies, that on this 7th day of August, 2020, he caused to be
  served a true and correct copy of the Redeemer Committee of the Highland Crusader Funds
  and the Crusader Funds’ Objection to the Proof Of Claim of UBS AG, London Branch and
  UBS Securities, LLC and Joinder in the Debtor’s Objection, by electronically filing it with the
  Court using the CM/ECF system, which sent notification to all parties of interest participating
  in the CM/ECF system.

                                               /s/ Mark A. Platt
                                               Mark A. Platt




                                                27
